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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


DONNA CURLING, et al.,                  :
                                        :
                                        :
       Plaintiffs,                      :
                                        :
v.                                      :        CIVIL ACTION NO.
                                        :        1:17-CV-2989-AT
BRAD RAFFENSPERGER, et al.,             :
                                        :
                                        :
       Defendants.                      :


                                    ORDER

      This matter is before the Court on Plaintiffs’ Third Joint Request for

Production [847], the parties’ Joint Discovery Statement Regarding Urgent Access

to Equipment [Doc. 829], and State Defendants’ Objection to the Production of

Protected Work Product/Fortalice Report [Doc. 838].

      Plaintiffs’ Request for Production No. 9 seeks production of “[a]ny report,

studies, findings, audits, evaluations, and/or assessments of actual or potential

security breaches or vulnerabilities associated with the Election System since

August 1, 2019, including but not limited to new, updated, or supplemental reports

prepared by Fortalice Solutions[.]” In response, State Defendants notified

Plaintiffs’ counsel in objections that they were withholding from production a

November 2019 report prepared by Fortalice Solutions concerning BMDs as

protected attorney work product. According to State Defendants, the report was
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undertaken for purposes of this litigation at the direction of Ryan Germany, the

General Counsel for the Secretary of State, after Plaintiffs filed their operative

complaints challenging the BMD system.                 No other Fortalice Reports were

apparently generated or produced in connection with Fortalice’s ongoing

consulting with the Secretary of State’s Office regarding the security and operation

of the SOS Office’s information and election systems – consulting that had been

expressly referenced in the relief section of the Court’s Order of August 15, 2019 as

well as in the Order itself. 1

       Plaintiffs seek to compel production of the Fortalice November 2019 report,

requested by the SOS general counsel one month after the Court’s order of August

15, 2019, on the assertion that there is “a clear, substantial and compelling need . .

. for the only known report by a third-party cybersecurity firm regarding the

current election system in Georgia” and there is “no other means for obtaining this

information.” (Doc. 838-3.)

       In conjunction with their request for the reports, Plaintiffs also now seek

access to the BMD voting equipment (and all associated voting equipment, i.e.

scanners that count the vote, access cards, etc.) for testing by their experts in

advance of the scheduled hearing on the pending motions for preliminary

injunction. Plaintiffs did not initially serve a formal discovery request for the

equipment, believing they could independently purchase the equipment. After



1 See, e.g., Order, Doc. 579 at 150 (re remedy), and 75-89 (scope of Fortalice’s work and findings
in 2017 and 2018 as to data system security vulnerability issues).

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they learned no equipment was available for purchase or would be made available

for their purchase, Plaintiffs informally sought access to the equipment directly

from the Defendants. While the Fulton County Defendants agreed to provide one

BMD to the Coalition Plaintiffs for inspection and assessment, the State

Defendants declined Plaintiffs’ request to provide access or assist Plaintiffs in

purchasing the equipment from Dominion, and advised they would not allow

Fulton County to loan out its BMD equipment.

       Plaintiffs brought these related disputes to the Court’s attention on Friday,

August 28, 2020. The Court directed the State Defendants to produce the Fortalice

report for in camera inspection and held discovery conferences with the parties on

August 28, 2020 and August 31, 2020. 2

       The Court has reviewed the November 27, 2019 Report prepared by Fortalice

entitled “Voting Process Analysis,” the State Defendant’s Objection to the

Production of the Fortalice Report, and the Curling Plaintiffs’ Notice of Authority

regarding work product protection.

       Based on the information before the Court, it appears that the Fortalice

Report falls within the protection afforded by the attorney work product doctrine.

Although the Secretary of State has an existing contract with Fortalice for the

performance of cybersecurity services and has prepared reports that have been

produced as evidence in this case previously, the Court cannot find that the



2 The Court recognized the State Defendants’ ongoing objections to production of the Fortalice
report and production of the BMDs for testing at the August 31, 2020 discovery conference.

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analysis of the BMD system undertaken at the direction of counsel in response to

Plaintiffs’ claims would have been prepared in substantially similar form absent

Plaintiffs bringing their challenge to the BMDs in this litigation. See In re Capital

One Consumer Data Security Breach Litigation, 2020 WL 2731238 at *3-4 (E.D.

Va. May 26, 2020) (citing RLI Ins. Co. v. Conseco, Inc., 477 F. Supp. 2d 741, 748

(E.D. Va. 2007). 3 Accordingly, the Court finds that the Defendants have asserted

a valid attorney work product objection to Plaintiffs’ request for production of the

Fortalice report. However, that does not by itself resolve the discovery dispute.

       At the same time that Defendants seek to preclude Plaintiffs’ review of

Fortalice’s technical analysis of the BMD voting system, they also seek to preclude

Plaintiffs from performing their own independent analysis of the system. The

issues covered by such technical and security analysis fall within the heartland of

this lawsuit’s serious claims – and thus, Defendants’ blocking position on all fronts

is not sustainable, in the face of Plaintiffs’ demonstration of substantial need in

connection with the Fortalice Report’s underlying voting data system/security

evaluation. For this reason, the Court finds that Plaintiffs have shown a substantial

need in turn for an inspection of the BMD voting system components, and in

particular at this time, the BMD system and related ballot scanning and associated

operational components. Accordingly, the Court DENIES Plaintiffs’ Request to

compel production of the November 2019 Fortalice Report but GRANTS in part


3The Court has reviewed the cases cited by the Curling Plaintiffs to support their argument that
the Fortalice Report is not attorney work product. Though relevant, these cases are
distinguishable and are not controlling.

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Plaintiffs’ Joint Request for access to the BMD voting system for purposes of an

expert inspection as follows:

      1.      Per their agreement, the Fulton County Defendants are DIRECTED

to provide Plaintiffs with one each of the following items needed for testing as

described in the Secretary of State’s Logic and Accuracy Procedures NO LATER

THAN SEPTEMBER 4, 2020 AT 5:30 P.M.

              a. Dominion ImageCast X (ICX) Prime 21” BMD;

              b. ImageCast Precint (ICP) Scanner;

              c. 1 box of ballot paper with a minimum of 100 ballots;

              d. Programmed Technician Card;

              e. Programmed Poll Worker Card;

              f. USB Drive containing information from GA ICX BMD

              programming group;

              g. Print out of Ballot Activation Codes;

              h. Programmed Compact Flash Cards for Polling Place Scanner; and

              i. Programmed Security Key Tab for Polling Place Scanner.

      2.      Access to and testing of the equipment shall be subject to the terms of

the Protective Order entered in this Case on July 11, 2019 at Doc. 477 in order to

address the confidentiality and intellectual property concerns raised by the State

Defendants and Dominion.

      3.      Plaintiffs shall arrange for all testing to be video (without sound)

recorded continuously by an independent court videographer. This video shall be


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made available to Defendants upon the completion of the Plaintiffs’ experts’ work

NO LATER THAN SEPTEMBER 10, 2020 AT 9:00 A.M. and shall be

supplemented thereafter. 4

         4.      The equipment identified in subsection 1 above shall not be put back

into service for any election and shall be temporarily sequestered, at a location to

be agreed upon, during the pendency of this lawsuit for future testing as necessary

in discovery.

         5.      Plaintiffs shall make financial arrangements with Fulton County to

deposit funds to cover the cost of Dominion replacement equipment it will incur.

         6.      The Court will address issues relating to the Poll Pad equipment in a

subsequent Order, as necessary.

         IT IS SO ORDERED this 2nd day of September, 2020.



                                                _____________________________
                                                Amy Totenberg
                                                United States District Judge




4   The Plaintiffs may also retain a copy of the certified video.

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